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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                   )
 DEBORAH GOLDEN,                                   )
                                                   )
                 Plaintiff,                        )
                                                   )
           v.                                      )       Civil Action No. 23-0521 (RBW)
                                                   )
 FEDERAL BUREAU OF PRISONS,                        )
                                                   )
                 Defendant.                        )
                                                   )

                                  JOINT STATUS REPORT

       Pursuant to the Court’s May 4, 2023, Minute Order, the parties, Plaintiff Deborah Golden

and Defendant Federal Bureau of Prisons (“BOP”) have met, conferred, and hereby report as

follows:

       1.       In this Freedom of Information Act (“FOIA”), 5 U.S.C. § 552, Plaintiff seeks to

compel the production of records in connection with three FOIA requests that she submitted to

BOP. Specifically, Plaintiff seeks records pertaining to three women who have alleged that they

were sexually assaulted while incarcerated at BOP facilities. Plaintiff filed her complaint in this

action on February 24, 2023, and Defendant answered on May 1, 2023.

       2.       BOP has completed its initial searches for records, which yielded approximately

1,500 pages of potentially responsive documents, but supplemental searches are ongoing.

       3.       BOP has begun processing the records yielded by its searches, though some

materials must be referred to another agency for consultation. BOP anticipates making an initial

production of records to Plaintiff by July 31, 2023, amounting to approximately 300 pages of

responsive, non-exempt material, and will continue to make interim productions of 300 pages per

month until all of the records responsive to the requests have been processed.
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       4.      In light of the foregoing, the parties propose that they submit a further joint status

report, apprising the Court of the status of BOP’s processing of records, by August 30, 2023.




Dated: June 1, 2023

                                                Respectfully submitted,
 /s/ Deborah M. Golden (by permission)
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